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9                               UNITED STATES DISTRICT COURT
10                           SOUTHERN DISTRICT OF CALIFORNIA
11
       SECURITIES AND EXCHANGE                          Case No. '22CV0765 JLS WVG
12
       COMMISSION,
13                                                      COMPLAINT
                        Plaintiff,
14                                                      DEMAND FOR JURY TRIAL
                vs.
15
       CORNERSTONE ACQUISITION
16     AND MANAGEMENT COMPANY
17     LLC, DERREN L. GEIGER, and
       SHE HWEA NGO,
18
                        Defendants.
19
20
21         Plaintiff Securities and Exchange Commission (“SEC” or the “Commission”)
22   alleges:
23                                   JURISDICTION AND VENUE
24         1.         This Court has jurisdiction over this action pursuant to Sections 20(b),
25   20(d) and 22(a) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C.
26   §§ 77t(b),77t(d) and 77v(a)], Sections 21(d), 21(e), and 27 of the Securities Exchange
27   Act of 1934 (“Exchange Act”) [15 U.S.C. §§ 78u(d), 78u(e), and 78aa], and Sections
28   209(d), 209(e), and 214 of the Investment Advisers Act of 1940 (“Advisers Act”)

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1    [15 U.S.C. §§ 80b-9(d), 80b-9(e), 80b-14], and 28 U.S.C. § 1331.
2          2.     Among other things, the Defendants conducted investment adviser
3    activities and engaged in the unlawful acts described herein throughout the United
4    States using, directly or indirectly, the means, instruments, or instrumentalities of
5    interstate commerce and/or the mails, including email, the internet, and telephone.
6          3.     Venue is proper in this Court pursuant to Section 27 of the Exchange Act
7    [15 U.S.C. § 78aa], Section 22(a) of the Securities Act [15 U.S.C. § 77v(a)], and
8    Section 214 of the Advisers Act [15 U.S.C. § 80b-14].
9          4.     In particular, Defendants Derren L. Geiger (“Geiger”) and She Hwea
10   Ngo (“Ngo”) reside in Del Mar, California and Cornerstone’s principal place of
11   business is in Rancho Santa Fe, California. Also, during the time period of the
12   allegations, the Defendants conducted their business from the District.
13                                         SUMMARY
14         5.     This case involves an investment adviser and its officers’ fraudulent
15   scheme and series of misrepresentations and omissions to investors and prospective
16   investors in two private funds as well as the adviser’s related compliance and
17   recordkeeping failures. The scheme, among other things, sought to retain and placate
18   the funds’ investors with materially false information as well as fraudulently entice
19   new investors. In committing these acts and making these misrepresentations and
20   omissions, the investment adviser and its officers acted with at least extreme
21   recklessness.
22         6.     From April 2011 through at least November 2021 (the “Relevant
23   Period”), then-registered investment adviser Cornerstone Acquisition and
24   Management Company LLC (“Cornerstone”), its CEO, portfolio manager, and chief
25   compliance officer, Geiger, and its CFO, Ngo (collectively, the “Defendants”), made
26   false and misleading statements and committed other deceptive acts in furtherance of
27   a fraudulent scheme to deceive and defraud investors in two private funds.
28   ///

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1          7.     The first fund, the Caritas Royalty Fund LLC (“U.S. Fund”), is a fund
2    for U.S. investors. Cornerstone advised the U.S. Fund. The second fund, the Caritas
3    Royalties Fund (Bermuda) Ltd. (“Bermuda Fund”), is a fund for U.S. tax-exempt and
4    non-U.S. investors. Cornerstone sub-advised the Bermuda Fund.
5          8.     To solicit and retain investors for the Bermuda Fund, Defendants made,
6    drafted, and/or disseminated materially false and misleading statements, which
7    fundamentally mischaracterized the nature and risks of an investment in the fund.
8          9.     First, the Defendants falsely stated that certain promissory notes – the
9    Bermuda Fund’s only investment assets – were secured by collateral. In fact, they
10   were not. Defendants made these misstatements in the Bermuda Fund’s audited
11   financial statements and prospectus, and in other communications with prospective
12   and existing investors.
13         10.    Second, Defendants stated that the value of the promissory notes was not
14   contingent upon the profits and losses of the obligor’s underlying assets. This was
15   also false. In fact, the value was directly contingent upon those profits and losses.
16   Defendants made these misstatements to prospective and existing investors in the
17   Bermuda Fund’s prospectus and due diligence questionnaires.
18         11.    Throughout their scheme, the Defendants committed deceptive acts to
19   further their fraud and evade detection regarding their misrepresentations about the
20   Bermuda Fund:
21               They prepared and signed promissory notes containing a sham provision
                  falsely stating that the notes were secured by collateral, and sent the
22                notes to the Bermuda Fund’s independent auditor (the “Audit Firm”);
23               They disseminated legal opinion letters to prospective and existing
                  investors and to the Audit Firm that falsely asserted that the notes were
24                collateralized;
25               They falsely asserted that the notes were secured by collateral in other
                  communications with the Audit Firm; and
26
                 They also asserted that the notes were secured by collateral in a written
27                submission to Commission staff, who were conducting an examination
                  of Cornerstone.
28

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1          12.    With regard to both the U.S. and Bermuda Funds, the Defendants, in a
2    further effort to solicit and retain investors, falsely stated in communications with
3    investors, and in reports that Cornerstone filed with the Commission, that Geiger was
4    Cornerstone’s sole owner. This was false.
5          13.    In fact, on February 28, 2018, Geiger and Ngo each acquired a fifty
6    percent ownership interest in Cornerstone from the estate of the former sole owner
7    (the “Prior Owner”). When investors asked questions and expressed concerns about
8    Cornerstone’s future ownership after the Prior Owner’s death, Geiger represented that
9    he was negotiating to acquire Cornerstone, and made no mention of Ngo. He did this
10   because Geiger was the Cornerstone executive best known to the investor base. After
11   Geiger and Ngo acquired Cornerstone, the Defendants continued falsely to hold
12   Geiger out as Cornerstone’s sole owner.
13         14.    Ultimately, Cornerstone earned more than $3.3 million in asset-based
14   management fees from the Bermuda Fund alone during the course of Defendants’
15   scheme.
16         15.    The Defendants also failed to maintain proper compliance policies and
17   procedures and accurate books and records as required by the Advisers Act. For
18   example:
19               Prior to the first quarter of 2020, Cornerstone and Geiger failed to make
                  and implement any written compliance policies and procedures in order
20                to determine the promissory notes’ interest rates and principal amounts;
21               Cornerstone also lacked written policies and procedures concerning its
                  provision of undocumented and undisclosed short-term loans to
22                American Assurance 2000, LP (“American Assurance”), another private
                  fund advised by Cornerstone; and
23
                 Finally, Cornerstone and Ngo recorded inaccurate transactions in
24                Cornerstone’s general ledger concerning Geiger’s and Ngo’s February
                  2018 acquisition of Cornerstone. Cornerstone subsequently produced
25                this to Commission staff in the course of their examination of the firm.
26   ///
27   ///
28   ///

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1                         VIOLATIONS AND RELIEF SOUGHT
2          16.    By engaging in the above-described misconduct (a) each Defendant
3    violated Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)] and Section 10(b) of
4    the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 [17 C.F.R. § 240.10-b5]
5    thereunder; (b) Cornerstone and Geiger violated Advisers Act Sections 206(4)
6    [15 U.S.C. § 80b-6(4)] and Rule 206(4)-8 [17 C.F.R. § 275.206(4)-8] thereunder and
7    207 [15 U.S.C. § 80b-7]; (c) Cornerstone violated Advisers Act Sections 204
8    [15 U.S.C. § 80b-4] and Rule 204-2 [17 C.F.R. § 275.204-2] thereunder and 206(4)
9    and Rule 206(4)-7 [17 C.F.R. § 206(4)-7] thereunder; (d) Geiger aided and abetted
10   violations of Advisers Act Section 206(4) and Rule 206(4)-7 thereunder; and (e) Ngo
11   aided and abetted violations of Advisers Act Sections 204 and Rule 204-2 thereunder,
12   206(4) and Rule 206(4)-8 thereunder, and 207.
13         17.    The Commission seeks a judgment from the Court: (a) permanently
14   enjoining the Defendants from engaging in future violations of the federal securities
15   laws pursuant to Section 20(b) of the Securities Act [15 U.S.C. § 77t(b)], Section
16   21(d)(1) of the Exchange Act [15 U.S.C. § 78u(d)(1)], and Section 209(d) of the
17   Advisers Act [15 U.S.C. § 80b-9(d)]; (b) ordering Defendants to disgorge all ill-
18   gotten gains received pursuant to Sections 21(d)(5), (7), and (8) of the Exchange Act
19   [15 U.S.C. § 78u-(d)(5), (7) & (8)], together with prejudgment interest; and
20   (c) ordering Defendants to pay civil monetary penalties pursuant to Section 20(d) of
21   the Securities Act [15 U.S.C. § 77t(d)], Section 21(d)(3) of the Exchange Act [15
22   U.S.C. § 78u(d)(3)], and Section 209(e) of the Advisers Act [15 U.S.C. §80b-9(e)].
23                                     DEFENDANTS
24         18.    Cornerstone Acquisition & Management Company LLC is a
25   Delaware limited liability company with its principal place of business in Rancho
26   Santa Fe, California. During the Relevant Period, Cornerstone was the investment
27   adviser to the U.S. Fund and American Assurance and was the Bermuda Fund’s sub-
28   adviser. It had fewer than ten employees. Cornerstone also held all of American

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1    Assurance’s common equity. Cornerstone was registered with the Commission as an
2    investment adviser from January 2006 through March 2022. According to
3    Cornerstone’s Forms ADV, filed with the Commission during the Relevant Period,
4    Cornerstone’s regulatory assets under management peaked at almost $131 million in
5    2015 and declined thereafter.
6          19.    Derren Lee Geiger, age 51, resides in Del Mar, California. Geiger was
7    Cornerstone’s chief operating officer (“COO”) from 2009 until March 2018, when he
8    became Cornerstone’s CEO. Geiger also served as Cornerstone’s only portfolio
9    manager and chair of its investment committee since 2009. In 2015, Geiger became
10   Cornerstone’s chief compliance officer (“CCO”) with final responsibility for
11   Cornerstone’s compliance program. He owns fifty percent of Cornerstone’s capital.
12   He is a Chartered Financial Analyst and a Chartered Alternative Investment Analyst
13   and holds Financial Industry Regulatory Authority Series 3, 7, 24, and 63 licenses.
14         20.    She Hwea (“Shea”) Ngo, age 46, resides in Del Mar, California. Ngo
15   joined Cornerstone in January 2014 as a controller and has been Cornerstone’s CFO
16   since 2015. Ngo owns fifty percent of Cornerstone’s capital. She is a licensed
17   California CPA and had eight years’ experience auditing private funds prior to
18   joining Cornerstone.
19                                OTHER RELEVANT ENTITIES
20         21.    American Assurance 2000, LP (“American Assurance”) is an
21   unregistered fund organized as a Delaware limited partnership. American Assurance
22   primarily invests in a portfolio of U.S. oil and natural gas royalty and other interests.
23         22.    Caritas Royalty Fund, LLC (“U.S. Fund”) is an unregistered fund
24   organized as a Delaware limited liability company for U.S. investors. During the
25   Relevant Period, the U.S. Fund served as an onshore feeder fund for, and the general
26   partner of, American Assurance, and held all of American Assurance’s preferred
27   equity.
28   ///

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1            23.   Caritas Royalties Fund (Bermuda) Ltd. (“Bermuda Fund”) is an
2    unregistered fund organized as an open-end mutual fund company under Bermuda
3    law for U.S. tax exempt and non-U.S. investors. During the Relevant Period, the
4    Bermuda Fund invested in American Assurance through loans memorialized by
5    promissory notes.
6                                 STATEMENT OF FACTS
7    I.      BACKGROUND
8            A.    Cornerstone and Its Funds
9            24.   During the Relevant Period, Cornerstone was the investment adviser to
10   American Assurance and the U.S. Fund and the sub-adviser to the Bermuda Fund,
11   each of which was a “pooled investment vehicle” as defined in Section 206(4)-8(b) of
12   the Advisers Act [17 C.F.R. § 275.206(4)-8(b)] because each would be an investment
13   company under Section 3(a) of the Investment Company Act of 1940 [15 U.S.C.
14   § 80a-3(a)] but for the exclusion provided by either Section 3(c)(1) or 3(c)(7) of that
15   Act [15 U.S.C. § 80a-3(c)(1) & (7)].
16           25.   Cornerstone received asset-based management fees from the U.S. and
17   the Bermuda Funds in exchange for providing investment advisory services to them.
18           26.   As Cornerstone’s sole portfolio manager and chair of its investment
19   committee, Geiger was also an investment adviser to American Assurance, the
20   Bermuda Fund, and the U.S. Fund, and had primary or exclusive responsibility for
21   making investment decisions for those funds. Prior to March 2018, Geiger received
22   compensation for providing investment advisory services that derived from
23   Cornerstone’s revenues, including Cornerstone’s receipt of management fees from
24   the U.S. Fund and the Bermuda Fund. Thereafter, Geiger had a fifty percent
25   ownership interest in Cornerstone.
26           27.   Throughout the Relevant Period, Defendants offered and sold limited
27   partnership interests in the U.S. Fund and shares in the Bermuda Fund. The limited
28   partnership interests and shares were securities within the meaning of the federal

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1    securities laws.
2          28.    Cornerstone’s sub-advisory agreements with the investment adviser to
3    the Bermuda Fund (the “Bermuda Adviser”) provided that Cornerstone had “full
4    discretion to make and execute all investment decisions” for the Bermuda Adviser
5    relating to the Bermuda Fund. Cornerstone arranged for the Bermuda Fund to invest
6    in American Assurance through loans while the U.S. Fund invested in American
7    Assurance’s preferred equity.
8          29.    Defendants edited and/or reviewed and approved the Bermuda Fund’s
9    prospectuses, whose contents overlapped significantly with those of the U.S. Fund.
10   Defendants also drafted, had authority over the contents of, and approved the
11   distribution of the Bermuda Fund’s due diligence questionnaires and other marketing
12   materials. Defendants made presentations to prospective and existing U.S. tax-
13   exempt and non-U.S. investors. Pursuant to the sub-advisory agreements,
14   Cornerstone received 88% of the management fees collected from the Bermuda Fund
15   and 100% of the performance fees.
16         B.     The Bermuda Fund’s Investments
17         30.    During the Relevant Period, Cornerstone invested substantially all of the
18   Bermuda Fund’s capital in American Assurance through loans. This enabled the
19   Bermuda Fund to claim a “portfolio interest” tax exemption available to certain
20   foreign lenders. The loans were unsecured and were memorialized by promissory
21   notes issued by American Assurance to the Bermuda Fund that reset at least semi-
22   annually, with a new maturity date, principal amount, and interest rate at each new
23   issuance. The promissory notes constituted the Bermuda Fund’s only investment
24   assets.
25         31.    Cornerstone structured the promissory notes to provide the Bermuda
26   Fund with equity-like returns through their interest rates. Prior to November 2014,
27   each of the promissory notes had a fixed interest rate of 2% per annum, and the fair
28   value of each note was adjusted monthly based upon American Assurance’s profits

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1    and losses. Thereafter, the promissory notes had variable interest rates based on
2    forecasts of the cash flows that American Assurance’s underlying assets would
3    generate over the term of each note, and the fair value of each note was equal to its
4    principal amount.
5          C.     Bermuda Fund’s Dwindling Subscriptions and the SEC Exam
6          32.    Beginning in 2015, Cornerstone experienced difficulty in securing
7    subscriptions to the Bermuda Fund from investors, some of whom had questions
8    about the reasons why the Bermuda Fund invested in American Assurance through
9    loans rather than through a more conventional tax-blocker structure. The following
10   table, which is based on records obtained from the Bermuda Fund’s administrator,
11   shows that investment in the Bermuda Fund steadily declined after 2014:
12                        Total Investment in the Bermuda Fund
13
14           Quarter Ending in December                Investment (U.S. Dollars)
15                        2014                               $88,214,224
16
                          2015                               $73,705,309
17
                          2016                               $55,613,154
18
                          2017                               $40,671,178
19
                          2018                               $38,492,402
20
                          2019                               $37,881,922
21
                          2020                               $21,042,043
22
23         33.    In July 2019, the Commission initiated an examination of Cornerstone
24   (the “Examination”). On February 18, 2020, Commission staff sent a letter to Geiger
25   detailing its findings from the Examination and identifying deficiencies and
26   weaknesses in Cornerstone’s controls (the “SEC Deficiency Letter”). Geiger’s
27   March 25, 2020, response to the SEC Deficiency Letter, on behalf of Cornerstone,
28   stated that Defendants would take certain corrective actions and appended certain

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1    newly written compliance policies and procedures.
2    II.   DEFENDANTS MISREPRESENTED TO CURRENT AND PROSPECTIVE
3          INVESTORS THAT THE BERMUDA FUND’S LOANS WERE
4          COLLATERALIZED BY AMERICAN ASSURANCE’S INVESTMENTS
5          34.    Throughout the Relevant Period, Defendants made materially false and
6    misleading statements to prospective and existing investors in the Bermuda Fund that
7    the promissory notes were collateralized. The “Notes to Financial Statements” for
8    each of the Bermuda Fund’s audited financial statements for the years ending
9    December 2015 through 2018 stated:
10         The fair value of the note receivable [the promissory notes] from
           American Assurance is derived from the fair value of the underlying
11         investments of American Assurance and its wholly owned subsidiary,
           Cobra Petroleum Company, LP (“Cobra”). In addition, the fair value of
12         the note receivable is influenced by the current market conditions
           surrounding the value of the underlying collateral.
13
14   (emphasis added.)
15         35.    In contrast, the audited financial statements for the U.S. Fund, which
16   owned all of American Assurance’s preferred equity, described the same “note
17   receivable” but said nothing about whether or not it was collateralized.
18         36.    The representations in the Bermuda Fund’s audited financial statements
19   were false because the promissory notes never had any “underlying collateral.” They
20   were material because they concerned the Bermuda Fund’s only investment assets
21   and fundamentally mischaracterized the nature and risks of an investment in the
22   Bermuda Fund.
23         37.    Each of the Bermuda Fund’s audited financial statements for 2015
24   through 2018 were disseminated to all existing investors in the Bermuda Fund in or
25   around the spring of the following year. In addition, Cornerstone and Geiger sent
26   copies of the audited financial statements to certain prospective investors.
27         38.    As a licensed CPA and Cornerstone’s CFO, Ngo drafted both the
28   preliminary and final versions of the audited financial statements in consultation with

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1    Geiger.
2          39.    Further, Geiger and Ngo signed management representation letters to the
3    Audit Firm in which they represented that the collateral for all of the Bermuda Fund’s
4    financial instruments had been “adequately accounted for and disclosed in accordance
5    with the requirements of U.S. GAAP.”
6          40.    The “Independent Auditor’s Report,” attached to each of the audited
7    financial statements, stated that “Management is responsible for the preparation and
8    fair presentation of financial statements that are free from material misstatement,
9    whether due to fraud or error.”
10         41.     Geiger repeated the false statements about collateral in other
11   communications to investors. For example, in a June 9, 2016 email to prospective
12   investors, Geiger wrote that “Offshore [the Bermuda Fund] has priority over Onshore
13   [the U.S. Fund] due to Note being secured debt.”
14         42.    This statement was false because the promissory notes were not secured
15   debt. In addition, it was false because American Assurance’s Third Amended and
16   Restated Agreement of Limited Partnership, dated March 13, 2013, provided that
17   neither the U.S. Fund nor the Bermuda Fund would have priority over one another in
18   the event of American Assurance’s dissolution or termination.
19         43.    Similarly, on June 6, 2018, the Bermuda Adviser sent an email to Geiger
20   and Ngo in which the Bermuda Adviser forwarded questions from a prospective
21   investor in the Bermuda Fund. Geiger wrote responses to the questions, which the
22   Bermuda Adviser copied into an email reply to the prospective investor, and copied
23   Geiger, on the same day. In his response to one of the prospective investor’s
24   questions, Geiger wrote that “[t]he investment risks [of the U.S. Fund and the
25   Bermuda Fund] are similar in that the Note is collateralized by the underlying oil and
26   gas assets.” On June 14, 2018, the investor replied to the Bermuda Adviser and
27   Geiger by ordering two initial subscriptions, totaling $500,000, to the Bermuda Fund.
28   ///

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1          44.    To evade detection, Defendants also repeated the false assertion about
2    collateral to Commission staff during the Examination. On October 22, 2019,
3    Commission staff sent Cornerstone requests for information that included a request
4    for a “written description of the collateral provided for the note” issued by American
5    Assurance to the Bermuda Fund. On November 4, 2019, Geiger and Ngo responded
6    by writing that “[t]he underlying oil and gas assets held by [American Assurance]
7    that are attributable to [the Bermuda Fund’s] capital in the investment strategy is
8    considered to be the collateral of the Note.”
9          45.    On November 4, 2019, Ngo sent an email to the Audit Firm’s lead
10   engagement partner on the Bermuda Fund’s audits and attached the false written
11   submission to Commission staff concerning the promissory notes’ purported
12   collateral. Three days earlier, on November 1, Geiger had sent an email, copying
13   Ngo, notifying the lead engagement partner that he and Ngo had given Commission
14   staff permission to speak with her and other Audit Firm personnel about the audits.
15         46.    Defendants knew, or were reckless or negligent in not knowing, that
16   their representations that the promissory notes were collateralized by American
17   Assurance’s underlying assets were false and misleading.
18         47.    Geiger signed, and Ngo was responsible for updating, each of the two-
19   page promissory notes, which contained no provision stating that they were secured
20   by American Assurance’s assets. Geiger and Ngo were also responsible for
21   negotiating the terms of American Assurance’s credit facility agreements, which
22   contained extensive provisions about collateral; they were familiar with that term and
23   what it meant.
24         48.    Nor were these misrepresentations haphazard: Defendants made these
25   misrepresentations in the audited financial statements for the Bermuda Fund. A
26   reasonable investor would have wanted to know that the Bermuda Fund’s only
27   investment assets were, in fact, unsecured when making an investment decision about
28   the Fund. Defendants did not repeat these misrepresentations (omitting to say

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1    anything about collateral) in the audited financial statements for the U.S. Fund, which
2    owned all of American Assurance’s preferred equity, and whose investors potentially
3    could have been harmed by the existence of such collateral.
4    III.    DEFENDANTS MISREPRESENTED THAT BERMUDA FUND’S LOANS
5            WERE COLLATERALIZED BY CORNERSTONE’S MEMBERSHIP OR
6            AMERICAN ASSURANCE OWNERSHIP INTERESTS
7            A.    Misrepresentations in the Fund Prospectuses and Promissory Notes
8            49.   For many years, Defendants also made false and misleading statements
9    that the promissory notes were collateralized by Cornerstone’s membership or
10   ownership interests in American Assurance. The April 2011 prospectus for the
11   Bermuda Fund, which was in use until it was updated in September 2013, included
12   the following statement in its description of the promissory notes:
13           [T]here will be sufficient security for the debt (i.e. the membership
             interests in the Owner [American Assurance] will be pledged as collateral
14           for the [Bermuda] Fund loans).
15           50.   Similarly, each of the two-page promissory notes from April 2011
16   through January 2013, and from November 2014 through February 2018, provided
17   that:
18           This note is secured by that certain Assignment and Pledge of Ownership
             Interests of even date herewith by and among Cornerstone Acquisition &
19           Management Company LLC, as Pledger, and the Payee [the Bermuda
             Fund] as the Secured Party.
20
21           51.   In fact, the promissory notes were never secured by Cornerstone’s
22   membership or ownership interests in American Assurance, by an “Assignment and
23   Pledge of Ownership Interests,” or by any other collateral.
24           52.   Geiger was the sole signatory on each of these promissory notes. After
25   joining Cornerstone in January 2014, Ngo was responsible for updating each of the
26   notes. From April 2011 through June 2014, the Bermuda Fund’s prospectuses stated
27   that the promissory notes were available for inspection at Cornerstone’s offices.
28   ///

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1          53.    In December 2012, Cornerstone’s outside counsel asked Geiger to
2    provide them with a copy of the “Assignment and Pledge of Ownership Interests”
3    (“Assignment/Pledge Document”) referenced in the promissory notes. On or about
4    March 8, 2013, Geiger sent an email to the lawyers in which he wrote that he was
5    unable to locate an executed version.
6          54.    Cornerstone’s counsel removed the reference to security and collateral
7    for the promissory notes from the Bermuda Fund’s prospectuses beginning in
8    September 2013, and Geiger directed a Cornerstone employee to delete the paragraph
9    referencing the Assignment/Pledge Document from Cornerstone’s template for the
10   promissory notes. The relevant correspondence between Geiger and the lawyers was
11   forwarded to Ngo when she joined Cornerstone in January 2014.
12         55.    Nonetheless, beginning in November 2014, Geiger and Ngo reinserted
13   the false provision concerning the Assignment/Pledge Document into the text of the
14   promissory notes, where it remained for more than four years until it was finally
15   removed in June 2018. During that period, the Assignment/Pledge document
16   remained unexecuted and the notes continued to be unsecured.
17         B.     The Misrepresentations in the Legal Opinion Letter
18         56.    In July 2016, Cornerstone’s outside counsel updated a March 2011 legal
19   opinion letter that it had sent to Geiger concerning the Bermuda Fund’s eligibility for
20   the “portfolio interest” tax exemption. Both the March 2011 and July 2016 legal
21   opinion letters stated that, based upon information provided by Cornerstone, “there
22   will be sufficient security for the debt (i.e., the membership interests in [American
23   Assurance] will be pledged as collateral for the loan).” Both letters also stated that
24   the existence of collateral was relevant to an analysis of whether the Bermuda Fund’s
25   loans qualified for the exemption.
26         57.    Cornerstone and Geiger made both opinion letters available to
27   prospective and existing investors in the Bermuda Fund upon request. Geiger
28   personally sent the opinion letters to certain prospective and existing investors. In

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1    addition, Defendants provided the opinion letters to the Audit Firm which
2    incorporated them into its audit work papers for the Bermuda Fund.
3             58.   By disseminating the opinion letters, the Defendants falsely
4    communicated that the promissory notes were collateralized.
5             59.   Defendants knew that the statements about collateral in the promissory
6    notes and the legal opinion letters were false, or they were reckless or negligent in
7    making, drafting, and/or disseminating them without determining whether they were
8    true or false. Similarly, Geiger knew that the statement about collateral in the April
9    2011 prospectus was false, or he was reckless or negligent in drafting, approving,
10   and/or disseminating it without determining whether it was true or false.
11   IV.      DEFENDANTS MISREPRESENTED THE VALUE PROPOSITION
12            FOR THE PROMISSORY NOTES
13            60.   The Defendants also drafted and/or disseminated materially false and
14   misleading statements to investors about the value proposition for the promissory
15   notes.
16            61.   Beginning in January 2015, each prospectus for the Bermuda Fund
17   included the following statement in both the “Summary” and the “Fund Investment
18   Structure” sections under the heading “Current Investment Structure”:
19                  The Fund invests in [American Assurance] through an Investment
                    Structure that utilizes a combination of equity and debt, including
20                  Fund Loans whose value is not contingent upon profits and losses
                    related to the Royalty and Non-Operated Working Interests and
21                  other assets (if any) owned by [American Assurance].
22   The July 2014 prospectus for the Bermuda Fund, which Cornerstone emailed to all
23   existing investors in the Bermuda Fund, contained essentially the same statement
24   under the heading “Current and Future Investment Structure.”
25            62.   From 2016 through 2019, each of the due diligence questionnaires for
26   the Bermuda Fund also contained essentially the same statement in a section entitled
27   “Investment Structure.”
28   ///

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1          63.    The statement is false because the value of the promissory notes was
2    directly contingent upon the profits and losses of American Assurance’s assets. Since
3    November 2014, Geiger and Ngo determined the promissory notes’ interest rates by
4    forecasting the cash flow that would be generated by American Assurance’s
5    underlying assets over the term of each note, and then calculating the Bermuda
6    Fund’s pro rata share of that cash flow.
7          64.    The statement is also misleading because, by omitting to describe the
8    manner in which the interest rates were derived, it conveys the deceptive impression
9    that the loans were similar to pure debt instruments. They were not. Instead, they
10   provided equity-like returns that depended upon the performance of American
11   Assurance’s underlying assets.
12         65.    The false and misleading statement was material because it
13   mischaracterized the nature and risks of an investment in the Bermuda Fund, and
14   because it concerned the interest rates, which were the Bermuda Fund’s only return
15   on its investment in American Assurance.
16         66.    Defendants were responsible for determining the interest rates for the
17   promissory notes. They knew, or were reckless or negligent in not knowing, that the
18   statement was false and misleading.
19   V.    CORNERSTONE AND GEIGER, WITH NGO’S SUBSTANTIAL
20         ASSISTANCE, MADE MATERIAL MISREPRESENTATIONS AND
21         OMISSIONS ABOUT CORNERSTONE’S OWNERSHIP STRUCTURE
22         67.    The Defendants made material misrepresentations and omissions
23   concerning Cornerstone’s ownership in Forms ADV that it filed with the Commission
24   in 2018 and 2019 and in other communications to investors.
25         68.    On or about March 29, 2017, Cornerstone’s Prior Owner died.
26         69.    In the succeeding months, Geiger and Ngo negotiated with his estate to
27   acquire Cornerstone. On February 28, 2018, the parties executed a purchase and sale
28   agreement pursuant to which Geiger and Ngo acquired Cornerstone for $525,000, and

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1    each received a written assignment of a fifty percent ownership interest in the firm.
2          70.    The U.S. federal and California state tax returns for Cornerstone, Geiger,
3    and Ngo for 2018 through 2020 stated that Geiger and Ngo each owned fifty percent
4    of Cornerstone’s capital.
5          A.     Cornerstone and Geiger Misrepresent Geiger’s Ownership on the
6                 Form ADV Filed with the Commission
7          71.    Schedule A of Form ADV Part 1 instructs filers organized as limited
8    liability companies to list “those members than have the right to receive upon
9    dissolution, or have contributed, 5% or more of [the LLC’s] capital.”
10         72.    On March 9, 2018, Cornerstone filed its annual updating amendment to
11   its Form ADV with the Commission. It stated on Schedule A that Geiger owned 75%
12   or more of Cornerstone’s capital and that Ngo’s ownership interest was “not
13   applicable.” Since 2018, Cornerstone has provided the same ownership information
14   on Schedule A of each of its annual updating amendments to its Forms ADV Part 1,
15   which were filed on March 7, 2019, March 26, 2020, and March 29, 2021.
16         73.    The instructions for Form ADV Part 2A, known as the “firm brochure,”
17   require filers to identify their principal owners, including persons owning 25% or
18   more of the firm. Cornerstone’s firm brochure, filed on March 8, 2018, stated that,
19   “The material changes include a change of ownership from [the Prior Owner] (and
20   his estate) to Derren L. Geiger.” Under the heading “Ownership,” it stated that
21   “Cornerstone is owned by Derren L. Geiger.”
22         74.    The brochure omitted to make any mention of Ngo’s ownership interest
23   in Cornerstone. Since 2018, the “Ownership” section of each of Cornerstone’s firm
24   brochures, which were filed on March 7, 2019, March 26, 2020, and March 29, 2021
25   has remained the same.
26         75.    On March 8, 2018, Cornerstone’s outside compliance consultant (the
27   “Consultant”) sent drafts of Cornerstone’s March 2018 Form ADV Part 1 and 2A to
28   Geiger and Ngo for their review and approval before they were filed. The Consultant

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1    highlighted the new ownership information on Schedule A of Part 1 in yellow and
2    directed Geiger’s and Ngo’s attention to page 4 of the firm brochure, which contained
3    the ownership information.
4          76.    The signature page of each of the Forms ADV Part 1 required
5    Cornerstone to certify, “under penalty of perjury under the laws of the United States
6    of America,” that the information contained in the form was true and correct.
7          77.    Cornerstone and Geiger knowingly, intentionally, and/or recklessly
8    made the false statements in the Forms ADV. Geiger reviewed the Forms ADV
9    before they were filed and had final responsibility for the accuracy of their contents.
10         B.     Ngo Substantially Assisted the Misrepresentation
11         78.    Ngo provided substantial assistance to Cornerstone and Geiger by
12   reviewing the Forms ADV for accuracy and providing Geiger with feedback. In
13   doing so, Ngo knew or recklessly disregarded the fact that Cornerstone was filing
14   Forms ADV with the Commission that included false information about
15   Cornerstone’s ownership.
16         79.    Cornerstone’s March 25, 2020, response to the SEC Deficiency Letter
17   attached a “First Amendment” to Cornerstone’s LLC Agreement that provided that
18   Ngo had only a fifty percent profit-sharing interest in Cornerstone, with no obligation
19   to make contributions and no right to receive distributions on any liquidation or
20   dissolution of Cornerstone.
21         80.    The “First Amendment” stated that it was “made and entered into as of
22   the 1st day of January 2019,” and the response to the SEC Deficiency Letter claimed
23   that it was “effective as of January 1, 2019.” In fact, Geiger and Ngo did not execute
24   the “First Amendment” until December 2019 at the earliest, more than eight months
25   after Cornerstone filed its 2019 Form ADV Part 1 and 2A with the Commission, and
26   almost two years after its false 2018 update.
27   ///
28   ///

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1          C.     Defendants Fraudulently Misrepresented Cornerstone’s Ownership
2                 Status to Current and Prospective Investors
3          81.    The Defendants also knowingly, recklessly, or negligently held Geiger
4    out to prospective and existing investors as Cornerstone’s sole owner. Geiger
5    personally told prospective and existing investors that he owned Cornerstone while
6    omitting to make any mention of Ngo’s ownership interest. On April 24, 2018, Ngo
7    instructed the administrator for the U.S. and Bermuda Funds to send Cornerstone’s
8    2018 firm brochure containing the false ownership information to all current
9    investors.
10         82.    The identity of Cornerstone’s owners was material to investors. After
11   the Prior Owner’s death, investors in the U.S. Fund and the Bermuda Fund asked
12   questions and expressed concerns about Cornerstone’s future ownership. In a
13   January 3, 2018, email to Ngo concerning the negotiations to acquire Cornerstone,
14   Geiger wrote, “Lack of clarity has damaged business. No subscriptions at this semi-
15   annual period when Caritas [the U.S. Fund and the Bermuda Fund] outperformed
16   nearly all other energy investments.”
17         83.    Defendants misrepresented to investors that Geiger was Cornerstone’s
18   sole owner because Geiger was the Cornerstone executive who was best known to
19   investors. In emails after the Prior Owner’s death, Geiger reassured certain investors
20   that he was attempting to acquire Cornerstone, and made no mention of Ngo.
21         84.    In a November 4, 2019 written submission to Commission staff during
22   the Examination, Geiger and Ngo stated that it was Geiger who had “long-term
23   relationships” with the private funds’ investor base and who had the “immense
24   experience” and business contacts in the oil and gas sector. In contrast to Geiger,
25   Ngo had only very limited interactions with investors.
26         85.    Cornerstone obtained money as a result of the misrepresentations and
27   omissions in the Forms ADV, prospectuses, due diligence questionnaires, audited
28   financial statements, and other communications with prospective and existing

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1    investors because it earned asset-based management fees from the U.S. and Bermuda
2    Funds. Since March 2018, Geiger and Ngo also obtained money as a result of the
3    misrepresentations and omissions because Geiger has always had an ownership
4    interest in Cornerstone, and Ngo has always had an ownership or a profit sharing
5    interest in Cornerstone.
6          86.    According to records from the most recent administrator for the
7    Bermuda and U.S. Funds, which cover the period of January 2014 through September
8    2021, there were 87 subscriptions to the Bermuda Fund, totaling more than $81
9    million, during that period. From March 2018 through September 2021, there were at
10   least 34 subscriptions to the Bermuda Fund, totaling more than $9 million, and 24
11   subscriptions to the U.S. Fund, totaling more than $6.6 million.
12         D.     Cornerstone, through Ngo, Recorded Inaccurate Entries in its
13                General Ledger
14         87.    Ngo recorded inaccurate entries in Cornerstone’s 2018 general ledger
15   concerning her and Geiger’s acquisition of Cornerstone. The 2018 general ledger
16   reflected that:
17               On February 28, 2018, Cornerstone loaned each of Geiger and
                  Ngo half of the $525,000 purchase price for Cornerstone;
18
                 On March 8, 2018, Geiger and Ngo each made $90,000 in “loan
19                repayments” to Cornerstone; and
20               On June 18, 2018, Geiger and Ngo each made $200,000 in “loan
                  repayments” and “additional paid-in capital” to Cornerstone.
21
22         88.    Each of these entries was inaccurate because none of the lending and
23   repayment transactions that they reflected actually took place.
24         89.    Cornerstone subsequently produced the 2018 general ledger containing
25   the inaccurate entries to Commission staff during the Examination.
26   ///
27   ///
28   ///

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1    VI.    CORNERSTONE FAILED TO ADOPT AND IMPLEMENT WRITTEN
2           COMPLIANCE POLICIES AND PROCEDURES REASONABLY
3           DESIGNED TO PREVENT VIOLATIONS OF THE ADVISERS ACT
4           90.    Prior to its March 2020 response to the SEC Deficiency Letter,
5    Cornerstone failed to make and implement written compliance policies and
6    procedures reasonably designed to prevent violations of the Advisers Act in
7    connection with (a) its provision of short-term loans to American Assurance; and
8    (b) its methods and calculations for determining the interest rates and principal
9    amounts for the promissory notes.
10          91.    Cornerstone’s lack of written policies and procedures led to compliance
11   risks for the firm and exposed the U.S. and Bermuda Funds, and their underlying
12   investors, to risks.
13          92.    During the Relevant Period, Cornerstone made three short-term loans to
14   American Assurance for the following amounts on the following dates:
15                $1.29 million on July 26, 2018;
16                $245,000 on August 27, 2018; and
17                $1 million on December 31, 2019.
18          93.    Cornerstone failed to memorialize the terms of the July and August 2018
19   loans in a promissory note or any other written agreement and had no written policies
20   or procedures for doing so.
21          94.    Cornerstone had a conflict of interest in making the short-term loans
22   because it received interest payments on the loans from American Assurance.
23   Nonetheless, Cornerstone failed to disclose the short-term loans and associated
24   conflicts to investors in the U.S. and Bermuda Funds, and had no written policies or
25   procedures for doing so, until after it received the SEC Deficiency Letter.
26          95.    Cornerstone also lacked any policies and procedures reflecting or
27   demonstrating any methodology for determining the interest rates and principal
28   amounts of the promissory notes issued by American Assurance to the Bermuda

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1    Fund, including its reasons for certain positive and negative adjustments to the
2    principal amounts.
3          96.    In addition, Cornerstone failed to document its actual calculations with
4    respect to the promissory notes’ interest rates and principal amounts. As a result,
5    Cornerstone was unable to substantiate its methods and calculations, or that its
6    methods were consistently applied.
7          97.    As Cornerstone’s COO, and then its CEO and co-owner, Geiger made
8    the final decisions concerning the short-term loans and the promissory notes’ interest
9    rates and principal amounts. As Cornerstone’s CCO since 2015, Geiger was also
10   responsible for Cornerstone’s written compliance policies and procedures. Geiger
11   was contemporaneously aware of the interest payments that Cornerstone received on
12   its short-term loans to American Assurance, the absence of written agreements for
13   two of the loans, and the fact that Cornerstone was unable to substantiate its methods
14   or calculations for the promissory notes’ interest rates and principal amounts.
15         98.    Nonetheless, Geiger knowingly or recklessly failed to take any steps to
16   have Cornerstone adopt and implement written compliance policies and procedures to
17   address these risks.
18   VII. DEFENDANTS’ ILL-GOTTEN GAINS
19         99.    During the Relevant Period, Cornerstone obtained more than $3.3
20   million in asset-based management fees from the Bermuda Fund during its fraudulent
21   course of conduct.
22         100. As for the U.S. Fund, since March 2018, when Defendants began
23   misrepresenting that Geiger was Cornerstone’s sole owner, Cornerstone obtained
24   more than $950,000 in asset-based management fees from the U.S. Fund.
25         101. Prior to March 2018, Geiger and Ngo participated in Cornerstone’s ill-
26   gotten gains through compensation that was derived from Cornerstone’s revenues,
27   including its receipt of management fees from the Bermuda and U.S. Fund.
28   Thereafter, Geiger always had an ownership interest in Cornerstone, and Ngo always

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1    had an ownership or a profit-sharing interest in Cornerstone.
2                                FIRST CLAIM FOR RELIEF
3                      Violations of Section 17(a) of the Securities Act
4                                   (Against All Defendants)
5          102. The SEC realleges and incorporates by reference paragraphs 1 through
6    14, 16-77, 79-89, and 99-101 above.
7          103. As a result of the conduct alleged herein, Defendants Cornerstone,
8    Geiger, and Ngo each, directly or indirectly, in the offer or sale of securities, by use
9    of the means or instruments of transportation or communication in interstate
10   commerce, or by use of the mails: (a) knowingly or recklessly employed devices,
11   schemes, or artifices to defraud; (b) knowingly, recklessly, or negligently obtained
12   money or property by means of untrue statements of material fact or by omitting to
13   state material facts necessary in order to make statements made, in the light of the
14   circumstances under which they were made, not misleading; and (c) knowingly,
15   recklessly, or negligently engaged in transactions, practices, or courses of business
16   which operated or would operate as a fraud or deceit upon the purchasers, in violation
17   of Sections 17(a)(1), (2), and (3) of the Securities Act [15 U.S. C. § 77q(a)(1), (2),
18   and (3)].
19         104. By engaging in the foregoing conduct, Cornerstone, Geiger, and Ngo
20   violated, and unless restrained and enjoined, will again violate, Section 17(a) of the
21   Securities Act [15 U.S.C. § 77q(a)].
22                             SECOND CLAIM FOR RELIEF
23      Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Thereunder
24                                  (Against All Defendants)
25         105. The SEC realleges and incorporates by reference paragraphs 1 through
26   14, 16-77, 79-89, and 99-101 above.
27         106. As a result of the conduct alleged herein, Defendants Cornerstone,
28   Geiger, and Ngo each directly or indirectly, in connection with the purchase or sale of

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1    securities, by the use of the means or instrumentalities of interstate commerce or of
2    the mails, or a facility of a national securities exchange, knowingly or recklessly, (a)
3    employed devices, schemes, or artifices to defraud; (b) made untrue statements of
4    material fact or omitted to state material facts necessary in order to make the
5    statements made, in light of the circumstances under which they were made, not
6    misleading; and (c) engaged in acts, practices, or courses of business which operated
7    or would operate as a fraud or deceit upon other persons, including purchasers and
8    sellers of securities, in violation of Section 10(b) of the Exchange Act [15 U.S.C.
9    § 78j(b)] and subsections (a), (b), and (c) of Rule 10b-5 thereunder [17 C.F. R.
10   § 240.10b-5(a), (b), and (c)].
11         107. By engaging in the foregoing conduct, Cornerstone, Geiger, and Ngo
12   violated, and unless restrained and enjoined, will again violate, Section 10(b) of the
13   Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 [17 C.F.R. § 240.10b-5]
14   thereunder.
15                              THIRD CLAIM FOR RELIEF
16       Violations of Section 204 of the Advisers Act and Rule 204-2 Thereunder
17                                    (Against Cornerstone)
18         108. The SEC realleges and incorporates by reference paragraphs 1 through
19   33, 67-77, 79-101 above.
20         109. As a result of the conduct alleged herein, Defendant Cornerstone, while
21   an investment adviser registered under Section 203 of the Advisers Act [15 U.S.C.
22   § 80b-3], which made use of the mails or of the means or instrumentalities of
23   interstate commerce in connection with its business as an investment adviser, failed
24   to make and keep true, accurate, and current books and records relating to its
25   investment advisory business, and made untrue and inaccurate books and records
26   subject to examination by representatives of the Commission.
27         110. By engaging in the foregoing conduct, Cornerstone violated, and unless
28   restrained and enjoined, will continue to violate, Section 204 of the Advisers

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1    Act [15 U.S.C. § 80b-4 and Rule 204-2 [17 C.F.R. § 275.204-2] thereunder.
2                               FOURTH CLAIM FOR RELIEF
3          Aiding and Abetting Violations of Section 204 of the Advisers Act and
4                                   Rule 204-2 Thereunder
5                                        (Against Ngo)
6          111. The SEC realleges and incorporates by reference paragraphs 1 through
7    101 above.
8          112. As a result of the conduct alleged herein, Defendant Ngo aided and
9    abetted Defendant Cornerstone’s violations of Section 204 of the Advisers Act
10   [15 U.S.C. § 80b-4] and Rule 204-2 thereunder [17 C.F.R. § 275.204-2] by
11   knowingly or recklessly providing substantial assistance to Cornerstone which, while
12   an investment adviser registered under Section 203 of the Advisers Act [15 U.S.C.
13   § 80b-3], which made use of the mails or of the means or instrumentalities of
14   interstate commerce in connection with its business as an investment adviser, failed
15   to make and keep true, accurate, and current books and records relating to its
16   investment advisory business, and made untrue and inaccurate books and records
17   subject to examination by representatives of the Commission.
18         113. By engaging in the foregoing conduct, Ngo directly or indirectly, aided
19   and abetted, and unless restrained and enjoined, will again aid and abet, violations of
20   Section 204 of the Advisers Act [15 U.S.C. § 80b-4] and Rule 204-2 [17 C.F.R.
21   § 275.204-2] thereunder.
22                              FIFTH CLAIM FOR RELIEF
23     Violations of Section 206(4) of the Advisers Act and Rule 206(4)-7 Thereunder
24                                  (Against Cornerstone)
25         114. The SEC realleges and incorporates by reference paragraphs 1 through
26   77, 79-89, and 99-101 above.
27         115. As a result of the conduct alleged herein, Defendant Cornerstone, while
28   registered as an investment adviser under Section 203 of the Advisers Act [15 U.S.C.

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1    § 80b-3], using the mails and the means and instrumentalities of interstate commerce,
2    directly or indirectly, engaged in fraudulent, deceptive, or manipulative practices or
3    courses of business, and failed to adopt and implement written policies and
4    procedures reasonably designed to prevent violations of the Advisers Act and the
5    rules thereunder by Cornerstone and its supervised persons, in violation of
6    Section 206(4) of the Advisers Act [15 U.S.C. § 80b-6(4)] and Rule 206(4)-7
7    [17 C.F.R. § 206(4)-7] thereunder.
8          116. By engaging in the foregoing conduct, Cornerstone violated and, unless
9    restrained and enjoined, will continue to violate, Section 206(4) of the Advisers Act
10   [15 U.S.C. § 80b-6(4)] and Rule 206(4)-7 [17 C.F.R. § 275.206(4)-7] thereunder.
11                              SIXTH CLAIM FOR RELIEF
12       Aiding and Abetting Violations of Section 206(4) of the Advisers Act and
13                                 Rule 206(4)-7 Thereunder
14                                      (Against Geiger)
15         117. The SEC realleges and incorporates by reference paragraphs 1 through
16   77, 79-89, and 99-101 above.
17         118. As a result of the conduct alleged herein, Defendant Geiger aided and
18   abetted Defendant Cornerstone’s violations of Section 206(4) of the Advisers Act [15
19   U.S.C. § 80b-6(4)] and Rule 206(4)-7 [17 C.F.R. § 275.206(4)-7] thereunder by
20   knowingly or recklessly providing substantial assistance to Cornerstone, which, while
21   registered as an investment adviser under Section 203 of the Advisers Act [15 U.S.C.
22   § 80b-3], using the mails and the means and instrumentalities of interstate commerce,
23   directly or indirectly, engaged in fraudulent, deceptive, or manipulative practices or
24   courses of business, and failed to adopt and implement written policies and
25   procedures reasonably designed to prevent violations of the Advisers Act and the
26   rules thereunder by Cornerstone and its supervised persons.
27         119. By engaging in the foregoing conduct, Geiger directly or indirectly,
28   aided and abetted, and unless restrained and enjoined, will again aid and abet,

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1    violations of Section 206(4) of the Advisers Act [15 U.S.C. § 80b-6(4)] and Rule
2    206(4)-7 [17 C.F.R. § 275.206(4)-7] thereunder.
3                             SEVENTH CLAIM FOR RELIEF
4      Violations of Section 206(4) of the Advisers Act and Rule 206(4)-8 Thereunder
5                             (Against Cornerstone and Geiger)
6          120. The SEC realleges and incorporates by reference paragraphs 1 through
7    77, 79-89, and 99-101 above.
8          121. At all times relevant to the Complaint, Defendants Cornerstone and
9    Geiger acted as investment advisers to the U.S. Fund and the Bermuda Fund, which
10   are pooled investment vehicles as defined in Rule 206(4)-8(b) [17 C.F.R.
11   § 275.206(4)-8(b)] of the Advisers Act. Defendants Cornerstone and Geiger, while
12   acting as investment advisers to one or more pooled investment vehicles, by use of
13   the mails or means or instrumentalities of interstate commerce, each directly or
14   indirectly: (a) made untrue statements of material fact and omitted to state material
15   facts necessary to make statements made, in the light of the circumstances under
16   which they were made, not misleading, to investors and prospective investors in a
17   pooled investment vehicle; and (b) otherwise engaged in acts, practices, or courses of
18   business that were fraudulent, deceptive, or manipulative with respect to investors or
19   prospective investors in a pooled investment vehicle.
20         122. By engaging in the foregoing conduct, Defendants Cornerstone and
21   Geiger violated, and unless restrained and enjoined, will again violate, Section 206(4)
22   of the Advisers Act [15 U.S.C. § 780b-6(4)] and Rule 206(4)-8 thereunder [17 C.F.R.
23   § 275.206(4)-8].
24   ///
25   ///
26   ///
27   ///
28   ///

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1                              EIGHTH CLAIM FOR RELIEF
2             Aiding and Abetting Violations of Section 206(4) of the Advisers
3                             Act and Rule 206(4)-8 Thereunder
4                                        (Against Ngo)
5          123. The SEC realleges and incorporates by reference paragraphs 1 through
6    89, and 99-101 above.
7          124. As a result of the conduct alleged herein, Defendant Ngo, directly or
8    indirectly, aided and abetted Defendant Cornerstone’s and Defendant Geiger’s
9    violations of Section 206(4) of the Advisers Act [15 U.S.C. § 80b-6(4)] and
10   Rule 206(4)-8 [17 C.F.R. § 275.206(4)-8] thereunder by knowingly or recklessly
11   providing substantial assistance to Cornerstone and Geiger who, while acting as
12   investment advisers to one or more pooled investment vehicles, by use of the mails or
13   means or instrumentalities of interstate commerce, each directly or indirectly:
14   (a) made untrue statements of material fact and omitted to state material facts
15   necessary to make statements made, in the light of the circumstances under which
16   they were made, not misleading, to investors and prospective investors in a pooled
17   investment vehicle; and (b) otherwise engaged in acts, practices, or courses of
18   business that were fraudulent, deceptive, or manipulative with respect to investors
19   and prospective investors in a pooled investment vehicle.
20         125. By engaging in the foregoing conduct, Ngo aided and abetted and, unless
21   restrained and enjoined, will again aid and abet violations of Section 206(4) of the
22   Advisers Act [15 U.S.C. § 80b-6(4)] and Rule 206(4)-8 thereunder [17 C.F.R.
23   § 275.206(4)-8] thereunder.
24                              NINTH CLAIM FOR RELIEF
25                      Violations of Section 207 of the Advisers Act
26                            (Against Cornerstone and Geiger)
27         126. The SEC realleges and incorporates by reference paragraphs 1 through
28   33, 67-77, and 79-101 above.

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1          127. As a result of the conduct alleged herein, Defendants Cornerstone and
2    Geiger violated Section 207 of the Advisers Act [15 U.S.C. § 80b-7] by, directly or
3    indirectly, through use of the mails, and the means and instrumentalities of interstate
4    commerce, willfully making untrue statements of material fact in reports filed with
5    the Commission under Section 203 of the Advisers Act [15 U.S.C. § 80b-3], or
6    willfully omitting to state in such reports material facts which were required to be
7    stated therein.
8          128. Defendants Cornerstone and Geiger knowingly, intentionally, and/or
9    recklessly made the aforementioned untrue statements or omitted the material facts
10   required to be stated in such reports.
11         129. By reason of the foregoing, Cornerstone and Geiger violated, and unless
12   restrained and enjoined, will again violate, Section 207 of the Advisers Act
13   [15 U.S.C. § 80b-7].
14                              TENTH CLAIM FOR RELIEF
15           Aiding and Abetting Violations of Section 207 of the Advisers Act
16                                        (Against Ngo)
17         130. The SEC realleges and incorporates by reference paragraphs 1 through
18   33, 67-101 above
19         131. As a result of the conduct alleged herein, Defendant Ngo aided and
20   abetted Defendant Cornerstone’s and Defendant Geiger’s violations of Section 207 of
21   the Advisers Act [15 U.S.C. § 80b-7] by, directly or indirectly, through use of the
22   mails, and the means and instrumentalities of interstate commerce, willfully making
23   untrue statements of material fact in reports filed with the Commission under Section
24   203 of the Advisers Act [15 U.S.C. § 80b-3], or willfully omitting to state in such
25   reports material facts which were required to be stated therein.
26         132. By reason of the foregoing, Defendant Ngo directly or indirectly, aided
27   and abetted and, unless restrained and enjoined, will again aid and abet, violations of
28   Section 207 of the Advisers Act [15 U.S.C. § 80b-7].

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1                                   PRAYER FOR RELIEF
2          WHEREFORE, the SEC respectfully requests that the Court enter a Final
3    Judgment:
4                                                I.
5          Finding that Defendants violated the federal securities laws as alleged herein;
6                                               II.
7          Permanently restraining and enjoining Defendants, their agents, servants,
8    employees and attorneys and all persons in active concert or participation with them,
9    who receive actual notice of the injunction by personal service or otherwise, and each
10   of them, from committing future violations of each of the securities laws and rules
11   promulgated thereunder as alleged herein;
12                                              III.
13         Ordering Defendants to disgorge all ill-gotten gains received directly or
14   indirectly, with pre-judgment interest thereon, as a result of the alleged violations;
15                                              IV.
16         Ordering Defendants to pay civil money penalties pursuant to Securities Act
17   Section 20(d) [15 U.S.C. § 77t(d)], Exchange Act Section 21(d)(3) [15 U.S.C.
18   § 78u(d)(3)], and Advisers Act Section 209(e) [15 U.S.C. § 80b-9(e)]; and
19                                              V.
20         Granting such other and further relief as the Court may determine to be just,
21   equitable, and necessary.
22                                      JURY DEMAND
23         The SEC demands a trial by jury on all claims so triable.
24
25    Dated: May 27, 2022
26                                                     /s/ James M. Carlson
                                                       James M. Carlson
27                                                     Attorney for Plaintiff
                                                       Securities and Exchange Commission
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